    Case: 1:17-cv-01731 Document #: 71 Filed: 07/25/19 Page 1 of 3 PageID #:348




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ERIN TERRAZZINO, individually                )
and on behalf of all others                  )
similarly situated,                          )
                                             )
                         Plaintiff,          )               No. 1:17-cv-01731
                                             )
               v.                            )               Hon. Andrea R. Wood
                                             )
WAL-MART STORES, INC.,                       )               Mag. Judge. Sidney I. Schenkier
                                             )
                         Defendant.          )


                            JOINT SETTLEMENT STATUS REPORT
       The Parties, by and through their attorneys, pursuant to the Court’s July 10, 2019 Order

(ECF No. 70), hereby submit their joint settlement status report.

       1.      In the weeks since the July 10, 2019 Order, the Parties have made significant

progress towards resolving this matter.

       2.      While the Parties have been working quite well together, progress was slowed by

the travel of key decisionmakers with one of Walmart’s indemnitors.

       3.      The Parties ask for one final extension of 28 days to attempt to reach settlement.

       4.      Should the Parties fail to reach settlement by August 22, 2019, they will not request

an additional extension and will be prepared to appear at a Status Hearing to set an updated

schedule for the case.

       5.      This request for an additional 28 days is not being made for the purpose of delay,

but rather in the interest of judicial economy and to preserve the resources of the Parties for

settlement.




                                                 1
    Case: 1:17-cv-01731 Document #: 71 Filed: 07/25/19 Page 2 of 3 PageID #:349




       6.      Accordingly, the Parties request an extension to August 22, 2019 to submit an

updated settlement status report.



Dated: July 25, 2019



Respectfully submitted,                   Respectfully submitted,

/s James X. Bormes                        /s Brian D. Straw
One of Plaintiff’s Attorneys              One of Defendant’s Attorneys


James X. Bormes                           Francis A. Citera
Catherine P. Sons                         Brian D. Straw
Law Office of James X. Bormes, P.C.       Greenberg Traurig, LLP
8 South Michigan Avenue                   77 W. Wacker Drive, Suite 3100
Suite 2600                                Chicago, IL 60601
Chicago, IL 60603                         (312) 456-8400
(312) 201-0575
                                          Attorneys for Defendant
Frank Castiglione
Kasif Khowaja
The Khowaja Law Firm, LLC
8 South Michigan Avenue
Suite 2600
Chicago, IL 6060.
(312) 356-3200

Thomas M. Ryan
Law Office of Thomas M. Ryan, P.C.
35 East Wacker Drive
Suite 650
Chicago, Illinois 60601
(312) 726-3400

Attorneys for Plaintiff




                                             2
    Case: 1:17-cv-01731 Document #: 71 Filed: 07/25/19 Page 3 of 3 PageID #:350




                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 25, 2019, I electronically filed the foregoing document with

the Clerk of the Court using the CM/ECF system, which will send notification and service of such

filing to all registered counsel of record.




                                              /s/ Brian D. Straw
                                              Attorney for Defendant




                                                3
